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      [Counsel on signature page]
 1
                                   UNITED STATES DISTRICT COURT
 2
                               NORTHERN DISTRICT OF CALIFORNIA
 3
                                       SAN FRANCISCO DIVISION
 4

 5   CONCORD MUSIC GROUP, INC. et al.                     Case Number: 3:24-cv-03811-JSC

 6          Plaintiffs,                                   JOINT STIPULATION AND
                                                          [PROPOSED] ORDER TO CONTINUE
 7          v.                                            CASE MANAGEMENT CONFERENCE
                                                          TO AUGUST 15, 2024
 8
     ANTHROPIC PBC,
 9                                                        Hon. Jacqueline Scott Corley
            Defendant.
10                                                        Current Initial CMC Date: July 25, 2024

11

12          Pursuant to Civil L.R. 6-2 and this Court’s Standing Order, the Parties in the above-
13   captioned case, having met and conferred, hereby respectfully submit this joint stipulation and
14   proposed order to continue the Initial Case Management Conference, currently scheduled for July
15   25, 2024 at 1:30 PM, to August 15, 2024 at 1:30 PM, and continue the Parties’ obligations to
16   submit a Case Management Statement until August 8, 2024, seven (7) days before the initial Case
17   Management Conference.
18          In accordance with Civil L.R. 6-2(a), the Parties also submit the accompanying declaration
19   of Jeffrey G. Knowles in support hereof.
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                                                                                 Case No. 3:24-cv-03811-JSC
                          JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
             Case 3:24-cv-03811-JSC Document 143 Filed 07/11/24 Page 2 of 4




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                       JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
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 1                                 UNITED STATES DISTRICT COURT

 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                     SAN FRANCISCO DIVISION

 4   CONCORD MUSIC GROUP, INC. ET AL.                     Case Number: 3:24-cv-03811-JSC
 5
            Plaintiffs,                                   [PROPOSED] ORDER TO CONTINUE
 6                                                        CASE MANAGEMENT CONFERENCE
            v.                                            TO AUGUST 15, 2024
 7
     ANTHROPIC PBC,                                       Hon. Jacqueline Scott Corley
 8
 9          Defendant.

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11          PURSUANT TO STIPULATION, IT IS SO ORDERED:
12          1.      The Initial Case Management Conference, currently scheduled for July 25, 2024 at
13   1:30 PM, is hereby continued to August 15, 2024 at 1:30 PM; and
14          2.      Any deadline associated with the parties’ obligations to submit a joint case
15   management statement is tolled until August 8, 2024.
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17    Dated: July _______, 2024
18                                                     HON. JACQUELINE SCOTT CORLEY
                                                       UNITED STATES DISTRICT JUDGE
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28                                                      3                        Case No. 3:24-cv-03811-JSC
                          JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
              Case 3:24-cv-03811-JSC Document 143 Filed 07/11/24 Page 4 of 4




 1                           CIVIL L.R. 5-1(h)(3) SIGNATURE ATTESTATION

 2          I hereby attest that the signatories of the foregoing document concur in the filing of the

 3   document and that I have been authorized to file the document on their behalf.

 4    Dated: July 11, 2024                                       /s/ Jeffrey G. Knowles
                                                                   Jeffrey G. Knowles
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                                                                                Case No. 3:24-cv-03811-JSC
                                                               CIVIL L.R. 5-1(H)(3) SIGNATURE ATTESTATION
